
717 S.E.2d 377 (2011)
STATE of North Carolina
v.
Jovar Lamar ROSS.
No. 497P10.
Supreme Court of North Carolina.
August 25, 2011.
Andrew DeSimone, Assistant Appellate Defender, for Ross, Jovar Lamar.
Richard A. Graham, Assistant Attorney General, for State of N.C.
Thomas J. Keith, District Attorney, for State of N.C.

ORDER
Upon consideration of the petition filed on the 23rd of November 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 25th of August 2011."
